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          1                         UNITED STATES DISTRICT COURT

          2                       CENTRAL DISTRICT OF CALIFORNIA

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          4            HONORABLE VALERIE BAKER FAIRBANK, JUDGE PRESIDING

          5                                       ---

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          8     UNITED STATES OF AMERICA              )
                                                      )
          9                                           )
                                           PLAINTIFF )
         10                                           ) No. CR 07-1142-VBF
                          VS                          )
         11                                           )
                GERALD PLAZE THOMAS,                  )
         12     ANTHONY QUIN WHEELER,                 )
                                                      )
         13                                           )
                                           DEFENDANTS.)
         14     ______________________________________)

         15

         16                    REPORTER'S TRANSCRIPT OF PROCEEDINGS
                                      LOS ANGELES, CALIFORNIA
         17                          MONDAY, JANUARY 7, 2008
                                             3:05 P.M.
         18

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         20

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         22
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         23                                COURT REPORTER
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          1                                  APPEARANCES

          2

          3

          4
                IN BEHALF OF THE PLAINTIFF:
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                                                UNITED STATES ATTORNEY'S OFFICE
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                IN BEHALF OF THE DEFENDANT THOMAS:
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         18     IN BEHALF OF THE DEFENDANT WHEELER:

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          1     MONDAY, JANUARY 7, 2008; 3:05 P.M.; LOS ANGELES, CALIFORNIA

          2                                     -    -     -

          3                THE CLERK:     Item Number 14, Criminal Case Number

          4     07-1142-VBF, United States of America vs Twyman, et al.

          5                Counsel, please state your appearances for the

          6     record three oh 5:00 p.m.

          7                MR. LULEJIAN:     Good afternoon, your Honor.      John

          8     Lulejian for the United States of America.

          9                THE COURT:     Mr. Lulejian.

         10                MR. STAMBLER:     Good afternoon, your Honor.      Errol

         11     Stambler for Mr. Wheeler.

         12                THE COURT:     Mr. Stambler.

         13                MR. DADE:    Good morning, your Honor.       Duane Dade on

         14     behalf of Mr. Thomas, who is present before the Court, seated

         15     to my right.

         16                THE COURT:     Thank you.

         17                Thank you, Mr. Thomas.

         18                DEFENDANT THOMAS:        Yes.

         19                THE COURT:     And that's Gerald Thomas?

         20                DEFENDANT THOMAS:        Yes.

         21                THE COURT:     And, Mr. Stambler, your client is also

         22     present?

         23                DEFENDANT WHEELER:        Yes, ma'am.

         24                THE COURT:     And your name, sir?

         25                DEFENDANT WHEELER:        Anthony Wheeler.



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          1                THE COURT:     Mr. Wheeler.

          2                DEFENDANT WHEELER:      Yes.

          3                THE COURT:     This case is before the Court for a

          4     status conference.     As you know, at present the trial is set

          5     for January 22nd.     I would first turn to the prosecution and

          6     ask for an update as to the status of this case and the

          7     disclosure by the government to the defendants.

          8                MR. LULEJIAN:     May I use the lectern, your Honor?

          9                THE COURT:     Yes, please.

         10                MR. LULEJIAN:     Your Honor, I will go through,

         11     briefly, some of the items covered this morning, and I have

         12     some updates since we last spoke.

         13                Your Honor, earlier this -- not this year -- in

         14     December we met with the defense attorneys that were able to

         15     attend and provided them copies of the initial discovery.

         16     That consisted of the pertinent calls from the wiretap that

         17     were the basis for the overt acts, reports that were the

         18     basis of overt acts, criminal histories, and what we provided

         19     all the defense attorneys, whether they were there present or

         20     not at that conference, was the reports for all six of the

         21     cases.   So everyone has, essentially, a honed-down version of

         22     what went into the indictments.

         23                What the government is doing now is trying to

         24     comply with the rest of discovery obligations.          The FBI

         25     informed me at 12:30 today that all but 2,000 of the 80,000



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          1     calls are burnt to CDs, so they are almost done.         They are

          2     doing some spot checking to make sure that the calls that

          3     have no audio associated with them are just the way the

          4     system records the calls as opposed to a call that is missing

          5     the audio file.

          6                They have informed me that all the line sheets,

          7     which are the summaries that are done in real time, have been

          8     burned to CD's, so they should be searchable so the defense

          9     attorneys and their clients can go through and search the

         10     line sheets for their names, for telephone numbers that are

         11     important, names of other individuals who they find to be

         12     important, and they already have a subset of what's there.

         13                For the calls that are a subset, the FBI prepared

         14     transcripts, and the defense has those to assist them in

         15     listening to the audio.      The line sheets will certainly

         16     provide them assistance in listening to that audio as well,

         17     and, as I said earlier today, if the government is going to

         18     use any of these calls in its case in chief, it will prepare

         19     transcripts at an early opportunity for the defense to

         20     review, and, if there is any specific calls the defense would

         21     like transcribed, we are happy to do so.

         22                That's what's going on with the wiretaps.

         23                I also asked the FBI to gather all their reports on

         24     the form 302 -- the 302s, so the FBI is gathering all that.

         25     They are redacting information as part of an ongoing



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          1     investigation, and I anticipate having that sometime in the

          2     next week or so.

          3                In addition, we are trying to get recorded

          4     statements of those defendants who made statements and any

          5     written statements of the defense put together.

          6                I have copied all the wiretap applications,

          7     affidavits, progress reports, which also include detailed

          8     summaries of the calls to help the defense attorneys and the

          9     judge reviewing the wiretaps in this case, Judge Pregerson,

         10     to understand what happened during the course of the wire.

         11                That is ready to go out the door, as is the search

         12     warrants, I think 21 of them in total.         I thought 26, but it

         13     turned out there were 21 search warrants.         We have everything

         14     except for the returns.      When the Court clerks note the order

         15     that your Honor has signed unsealing everything, we will get

         16     the returns and provide those to the defense.

         17                We are also trying to track down all local reports

         18     from local law enforcement, although the FBI told me they

         19     think they have most of that.

         20                In short, your Honor, we are doing our best to

         21     rapidly go through and provide the defense as much discovery

         22     as possible.    We will be preparing an index down the road

         23     with breathing room for free time -- but a rough index to

         24     help guide them through the discovery.

         25                I have told all counsel that, if they have



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          1     questions, if they don't understand something, they need help

          2     searching, simply call and I will work with them.         So the

          3     government intends, along with the agents, to help the

          4     attorneys and their clients understand what is in the

          5     universe of items that's the government's case, the discovery

          6     that makes up the government's case, so they can make

          7     intelligent and informed decisions at such time as the

          8     government provides plea packages to them.

          9                  So that's where we are today, your Honor.

         10                  THE COURT:   Thank you.

         11                  Mr. Stambler, any questions or comments regarding

         12     the status of the case?

         13                  MR. STAMBLER:   I wasn't -- I don't know if I

         14     understood correctly.      Did the government provide us with

         15     draft transcripts yet?

         16                  MR. LULEJIAN:   May I address that, your Honor?

         17                  THE COURT:   Yes.

         18                  MR. LULEJIAN:   The government has provided draft

         19     transcripts for those calls that the FBI has deemed

         20     pertinent.     Those were produced in the government's initial

         21     package.     And that is -- those are the calls that the FBI and

         22     the prosecutor in charge of this case used for the overt acts

         23     set forth in the indictment.       So, if one looks at the

         24     indictment and sees the overt acts that are detailed in

         25     there, the corresponding materials should be in the packages



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          1     that all the defendants have.

          2                THE COURT:     Mr. Stambler?

          3                MR. STAMBLER:     Then I am missing my packet.         As of

          4     now, I don't believe I received it.

          5                MR. LULEJIAN:     May I have a moment, your Honor?

          6                THE COURT:     Sure.

          7                (Pause in proceedings.)

          8                MR. STAMBLER:     I do have it.     I have a CD.   I

          9     didn't realize -- I thought it was a hard copy.

         10                MR. LULEJIAN:     It came --

         11                MR. STAMBLER:     I have no questions.

         12                THE COURT:     Thank you.

         13                Mr. Dade, anything to bring up by way of response

         14     or comment as to -- and report as to the status of the case?

         15                MR. DADE:    Only that, your Honor, I would agree

         16     with the U. S. Attorney that I have received the packet, that

         17     it is informative, and we have begun discussion concerning

         18     negotiations in settlement of this case.         And, as far as

         19     communication, he's available.       We are talking.    Things are

         20     moving along well.

         21                A side issue, your Honor.       I don't know if the

         22     Court would like to hear it now.        We have submitted a

         23     stipulation for release of my client, and an order, if the

         24     Court would be inclined to sign that.         If the court has

         25     questions, we would address those at this point.



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          1                THE COURT:     All right.    I don't believe I have the

          2     stipulation before me.      I would ask my clerk for a

          3     assistance.

          4                MR. DADE:    I have a copy if the Court would like

          5     to --

          6                (Pause in proceedings.)

          7                THE COURT:     If you have a copy, Mr. Dade, I would

          8     be happy to read it now.

          9                MR. DADE:    Thank you, your Honor.          This is the

         10     copy, and the second is the proposed order.

         11                THE COURT:     All right.    My clerk will check the

         12     docket.

         13                MR. DADE:    I have a printout of the docket, if that

         14     helps.

         15                THE COURT:     That's not necessary.         My clerk will

         16     have it.   Thank you.

         17                (Pause in proceedings)

         18                THE COURT:     Mr. Lulejian, is that correct?         A

         19     stipulation was sent and entered into?

         20                MR. LULEJIAN:     Yes, your Honor.     I signed and faxed

         21     it back to counsel.     I believe it was actually filed with the

         22     Court.

         23                THE COURT:     Correct.   I see I have a copy of the

         24     documents which bear your signature of January 2nd.            Is that

         25     right?



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          1                MR. LULEJIAN:     That's correct, your Honor.

          2                THE COURT:     Okay.

          3                MR. LULEJIAN:     I suspect, with the conversion to

          4     ECF for both civil attorneys as well as criminal, that there

          5     is a tremendous backlog in the clerk's office for documents.

          6                MR. DADE:    It's a learning curve.

          7                THE COURT:     For the older among us, meaning me.

          8                MR. DADE:    And me, your Honor.

          9                THE COURT:     The government and the defense have

         10     entered into the stipulation.       I have read the stipulation.

         11     Unless there is anything further, I will sign the proposed

         12     order consistent with the stipulation.

         13                MR. LULEJIAN:     That's fine, your Honor.

         14                MR. DADE:    Thank you, your Honor.

         15                MR. STAMBLER:     Thank you, your Honor.

         16                THE COURT:     Anything else?

         17                Mr. Dade.

         18                MR. DADE:    Nothing, your Honor.

         19                THE COURT:     At present, the trial is set as to both

         20     parties, all parties in this case, for January 22nd, and both

         21     Mr. Wheeler and Mr. Thomas have a right to be tried in this

         22     case under the Speedy Trial Act by February 7th.

         23                Is that correct, Mr. Lulejian?

         24                MR. LULEJIAN:     Yes, your Honor, it is.

         25                THE COURT:     So, Mr. Thomas, Mr. Wheeler, you have a



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          1     Constitutional right to be tried by February 7th.          Your trial

          2     date is presently set for January 22nd.         In the related

          3     cases, or in the related case this morning, defense counsel

          4     requested a continuance in order to have more time to review

          5     the voluminous amount of discovery, including the record of

          6     the wiretaps.

          7                Given the voluminous amount of discovery and the

          8     complexity of this case, the Court, based upon the

          9     defendants' request, found grounds under the Speedy Trial Act

         10     to continue the trial in the case pertaining to Riley and

         11     Carter to the end of June, early July.

         12                Mr. Dade, what is your position regarding the

         13     trial?

         14                MR. DADE:    Your Honor, I was willing going to make

         15     a like request on behalf of Mr. Thomas.         I was going to

         16     discuss that with the U.S. Attorney in an attempt to get a

         17     stipulation along with the waiver of the Speedy Trial Act,

         18     but I am going to make a request.        So that I can get up to

         19     speed and be intelligent based upon my defense of Mr. Thomas,

         20     we are going to seek a continuance, and Mr. Thomas is going

         21     to waive his rights.

         22                THE COURT:     Mr. Stambler, what's the position of

         23     you and your client, Mr. Wheeler?

         24                MR. STAMBLER:     We would waive our speedy trial

         25     rights, your Honor, too, to a date convenient to the Court.



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          1                THE COURT:     Therefore, am I correct in

          2     understanding that, as to both defendants, Counsel believe

          3     additional time is needed to review the voluminous amount of

          4     discovery and --

          5                MR. DADE:    Yes, your Honor, on behalf Mr. Thomas.

          6                MR. STAMBLER:     Yes, your Honor, on behalf of Mr.

          7     Wheeler.

          8                THE COURT:     I understand and expect that a

          9     stipulation will be prepared regarding the Speedy Trial Act

         10     informing both defendants of their rights under the Speedy

         11     Trial Act, containing a waiver, until the end of July.

         12                But I want to make sure that both Mr. Thomas and

         13     Mr. Wheeler understand their rights to a speedy trial.

         14                Both of you have a Constitutional right to be tried

         15     in this case by February 7th.       Your trial date is presently

         16     set for January 22nd.

         17                Consistent with your speedy trial right, Mr.

         18     Wheeler, do you understand your rights to a speedy trial?

         19                DEFENDANT WHEELER:      Yes.

         20                THE COURT:     Do you, as well, Mr. Thomas?

         21                DEFENDANT THOMAS:      Yes.

         22                THE COURT:     I would explain that you have a right

         23     to be tried within 70 days from the date of the information,

         24     the charges that were filed against you.         For that reason, I

         25     am stating that you have a right to be tried by February 7th.



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          1                Both of your attorneys have requested a continuance

          2     to better prepare your case, in light of the complexity of

          3     the charges and the voluminous amount of discovery, including

          4     the documentary evidence pertaining to the wiretap, the

          5     search warrant, witness and party statements.

          6                I understand that both of your attorneys request

          7     that the January 22nd trial date be continued until the end

          8     of June or early July.

          9                Do you agree to the continuance of your trial date,

         10     Mr. Wheeler?

         11                DEFENDANT WHEELER:      Yes.

         12                THE COURT:     And you, as well, Mr. Thomas.

         13                DEFENDANT THOMAS:      Yes, ma'am.

         14                THE COURT:     If you have any questions for me, let

         15     me know, or, if you wish to talk to your attorney in private,

         16     let me know as well.

         17                Yes.

         18                DEFENDANT THOMAS:      I wish to talk to my attorney in

         19     private, your Honor.

         20                THE COURT:     All right.      Why don't you proceed.

         21                (Pause in proceedings.)

         22                THE COURT:     Anything further, Mr. Stambler?

         23                MR. STAMBLER:     No, your Honor.

         24                THE COURT:     Mr. Wheeler, any questions?

         25                DEFENDANT WHEELER:      No, ma'am.



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          1                THE COURT:     Mr. Wheeler, do you agree to continue

          2     your trial from January 22nd to a date up to the end of July?

          3                DEFENDANT WHEELER:      Yes, ma'am.

          4                THE COURT:     Mr. Thomas, do you agree, as well, to

          5     the continuance of your trial from January 22nd up to a date

          6     to the end of July?

          7                DEFENDANT THOMAS:      Yes, ma'am.

          8                MR. DADE:    I join, your Honor.

          9                THE COURT:     Mr. Stambler, join as well?

         10                MR. STAMBLER:     Yes, your Honor.

         11                THE COURT:     I find that the interests of justice

         12     support a continuance of the trial date.         Both of the

         13     defendants and the public have a right to a speedy trial.

         14                In this case I find, given the complexity of the

         15     case, the huge amount of discovery, that it's in the interest

         16     of justice to give the defendants more time to review the

         17     discovery and prepare their defense.

         18                For that reason, the continuance of the trial from

         19     January through a date up to the end of July is warranted,

         20     and I will grant the defendants' motion to continue the

         21     trial.

         22                I would order that counsel confer with the

         23     prosecution to prepare a stipulation and the stipulation be

         24     reviewed by each defendant and signed by them.

         25                This will give you time to confer with each other



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          1     regarding the appropriate trial date either at the end of

          2     June or early July.

          3                I would like to set a further status conference

          4     mid-May in all of the cases.       It's my intention to set a

          5     status conference for May 12th at 10:00.

          6                At that time I can confirm that proper disclosures

          7     have been made and the parties are on their way to prepare

          8     for the trial.

          9                Is that agreeable with you, Mr. Dade?

         10                MR. DADE:    Yes, your Honor.

         11                THE COURT:     Mr. Stambler?

         12                MR. STAMBLER:     Yes, your Honor, if I can have

         13     cupcakes and candy for my birthday.

         14                THE COURT:     I don't know that we will have that,

         15     but we will have water.

         16                May 12, 10:00, for further status conference.

         17                Anything more from the government?

         18                MR. LULEJIAN:     Just a point of clarification, your

         19     Honor.   On the stipulation, is it sufficient for the defense

         20     attorney to sign the stipulation, provided they get waivers

         21     of speedy trial from their clients, or do you want the

         22     defendants to individually sign the stipulation as well?

         23                THE COURT:     What's counsel position?

         24                My preference is to generally have the signature of

         25     the defendants as well as the attorneys.



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          1                MR. LULEJIAN:     I am happy to do it that way, your

          2     Honor, if that's what the --

          3                THE COURT:     That would be the Court's preference.

          4                MR. LULEJIAN:     Yes, your Honor.

          5                THE COURT:     So all parties will be ordered back

          6     May 12 at 10:00.

          7                Mr. Thomas, Mr. Wheeler, if you are released on

          8     bond, you are ordered to return to this court without any

          9     further notice on May 12 at 10:00.        Failure to return can

         10     lead to very severe consequences.

         11                Anything further?

         12                MR. LULEJIAN:     No, your Honor.     Thank you very

         13     much.

         14                MR. STAMBLER:     No, your Honor.

         15                THE COURT:     Thank you.

         16                MR. DADE:    No, your Honor.     Thank you very much.

         17                THE CLERK:     Court is adjourned.

         18                (Proceedings concluded at 3:25 p.m.)

         19
                                         CERTIFICATE
         20     I HEREBY CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT
                TRANSCRIPT OF THE STENOGRAPHICALLY RECORDED PROCEEDINGS IN
         21     THE ABOVE MATTER.
                FEES CHARGED FOR THIS TRANSCRIPT, LESS ANY CIRCUIT FEE
         22     REDUCTION AND/OR DEPOSIT, ARE IN CONFORMANCE WITH THE
                REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.
         23

         24                                                  05/11/2009
                ROBERT E. KILLION                                DATE
         25     OFFICIAL REPORTER



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